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                                                      U.S. Department of Justice             Page 1
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor



                                                      March 22, 2024
BY ECF

The Honorable Lewis A. Kaplan
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Samuel Bankman-Fried, S6 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        The Government submits the enclosed proposed stipulation and order (the “Stipulation and
Order”), related to two airplanes described in the bill of particulars filed on October 4, 2023. Dkt.
No. 314. The Stipulation and Order represents an agreement between the Government; Island Air
Capital, Capital Peak Aviation, and Paul Aranha (collectively “IAC”), who currently possess one
of the planes, an Embraer Legacy, in The Bahamas; the FTX Debtors; and Ryan Salame. 1 Under
the primary terms of the Stipulation and Order, IAC agrees to withdraw litigation previously filed
against the FTX Debtors, Stipulation and Order ¶ 1; agrees to fly the Legacy to the United States
and surrender the plane to the custody of the Government, Stipulation and Order ¶ 2; and the
Government agrees to pay IAC reasonable costs for its maintenance of the two airplanes before
they were seized by the Government and for costs associated with transporting the Legacy to the
United States, Stipulation and Order ¶¶ 5–8. The Government also seeks authorization from the
Court to approve interlocutory sale of the airplanes pursuant to Rule 32.2 of the Federal Rules of
Criminal Procedure and Rule G(7) of the Supplemental Rules for Admiralty or Maritime Claims
and Asset Forfeiture Actions. Stipulation and Order ¶ 3.




1
  The Government also provided a copy of the stipulation and order to the defendant Samuel
Bankman-Fried. Bankman-Fried and his counsel have not objected to the stipulation and order.
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      The Government is available to answer any questions the Court may have.




                                                Respectfully submitted,
                                                DAMIAN WILLIAMS
                                                United States Attorney

                                             By: /s/ Samuel L. Raymond
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